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                                              RECORD OF MAGISTRATE'S PROCEEDINGS


             UNITED STATES OF AMERICA                                                MAGISTRATE'S DOCKET #                      2:21-mj-1993-CRE-1

                         vs                                                          DATE OF COMPLAINT                          10/7/2021

                     ERIC KORTZ                                                      CRIMINAL DOCKET NUMBER

                                                                                     DATE OF INDICTMENT

                                                                                     STATUTE:                                   18:1111, 18:1114, 18:924

DATE ARRESTED:        10/7/2021

                                                                  INITIAL APPEARANCE

Before                LENIHAN                        X    EDDY                       Date:          10/7/2021                   C.D. Index

Magistrate            DODGE                               LANZILLO                   Time:          5:27 pm – 5:37 pm           Tape Index:

                      KELLY                               PESTO

U. S. ATTORNEY        JONATHAN LUSTY

1. RIGHTS EXPLAINED

2. COMPLAINT/INDICTMENT/INFORMATION:

                 X    Read                                Summarized                 Reading waived

                      Defendant provided with a copy of the charges

                 X    Defendant to be provided with a copy of the charges as soon as possible

3. ACT & PENALTIES

                 X    Read                                Summarized                 Reading waived

4. COUNSEL       X    Defendant requested appointment                                Defendant waived appointment

                 X    Defendant represented by:      ANDREW LIPSON

                      Defendant expects to retain:

                 X    Affidavit executed.

                      Not Qualified                  X    Qualified                  with possible requirement for partial or full payment

                 X    Federal Public Defender appointed

                      CJA Panel Attorney                                                                                        appointed

5. BAIL               Recommended Bond:

                      Bond Set at:

                      By Consent                          Additional Conditions Imposed:            .

                      By Magistrate

                      Bond Posted

                      Temporary Commitment issued                                    Final Commitment issued

                      Bond Review Hearing Set For:

                      Detention Hearing Set For:          Tuesday 10/12 at 3:00 pm before Magistrate Judge Dodge

6. PRELIMINARY EXAMINATION/RULE 40 HEARING/ARRAIGNMENT

                      Preliminary Exam:                                          10/12 at 3pm       Before Magistrate Judge     Dodge

ADDITIONAL COMMENTS:
